Case 19-32240-ABA            Doc 9     Filed 02/04/20 Entered 02/04/20 14:43:36                  Desc Main
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


In Re:                                                     Case No.:          19-32240/ABA
                                                                            __________________
Jeffrey Saurman                                            Chapter:                  7
                                                                            __________________
                                                           Judge:                  ABA
                                                                            __________________


                             NOTICE OF PROPOSED ABANDONMENT

       JOSEPH D. MARCHAND
__________________________________,                TRUSTEE
                                             ____________________     in this case proposes to abandon
property of the estate described below as being of inconsequential value. If you object to the
abandonment, you must file a written objection with the Clerk of the United States Bankruptcy Court and
serve it on the party named below not later than 7 days before the hearing date.

 Address of the Clerk: Clerk of the United States Bankruptcy Court
                         U.S. Post Office & Court House
                         PO Box 2067, 401 Market Street
                         Camden, NJ 08101-2067

                                                                                       Andrew B. Altenburg, Jr.
If an objection is filed, a hearing will be held before the Honorable _______________________________
         March 3, 2020
on ______________________               10:00
                                  at ________a.m.       at the United States Bankruptcy Court, Courtroom no.
    4B
________. (Hearing date must be at least 28 days from the date of this notice). If no objection is filed, the
abandonment shall take effect on entry by the clerk of a Certification of No Objection.
 Description and value of property: Real Property:
                                      103 E. Maiden Lane
                                      Somerdale, NJ
                                      FMV - $170,000.00


 Liens on property:                    SLS - $207,875.00




 Amount of equity claimed as exempt: $0.00



Objections must be served on, and requests for additional information directed to:

Name:            /s/ Joseph D. Marchand, Chapter 7 Trustee
                 ________________________________________________________________________
Address:         117-119 West Broad Street, P.O. Box 298, Bridgeton, NJ 08302
                 ________________________________________________________________________
               (856) 451-7600
Telephone No.: ________________________________________________________________________

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